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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

    NIGIL DOWDELL,                                              CIVIL ACTION
        Plaintiff

    VERSUS                                                      NO. 19-11410

    CULPEPPER & ASSOCIATES                                      SECTION “E” (4)
    SECURITY SERVICES, INC.,
        Defendant


                                       JUDGMENT

           Considering the Findings of Fact and Conclusions of Law issued by the Court on

November 17, 2020;1

           IT IS ORDERED, ADJUDGED, AND DECREED that there be judgment in

favor of Plaintiff Nigil Dowdell and against Defendant Culpepper & Associates Security

Services, Inc. on Plaintiff’s claims for sexual harassment in violation of 42 U.S.C.

2001(e) et seq. (“Title VII”) and retaliation in violation of Title VII in the amount of

$25,000 for emotional distress and loss of enjoyment of life and in the amount of

$72,733.73 for backpay.

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that pre-

judgment interest is awarded on compensatory damages and back pay from the date of

Plaintiff’s termination to the date of judgment, calculated using the Federal Reserve

Bank’s prime rate, and compounded on an annual basis.




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    R. Doc. 136.

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           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that post-

judgment interest is awarded from the date of judgment until paid at the rate set forth in

28 U.S.C. § 1961.2

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff

is awarded reasonable attorneys’ fees and expert witness fees in an amount to be

determined by the assigned Magistrate Judge.


           New Orleans, Louisiana, this 18th day of November, 2020.



                                                ____________________ ________
                                                        SUSIE MORGAN
                                                 UNITED STATES DISTRICT JUDGE




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    28 U.S.C. § 1961.

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